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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION
                   Case No. 19-24706-CIV-GRAHAM/MCALILEY


  LINDSAY RAFFERTY, on behalf of
  herself and all others similarly
  situated known and unknown,

        Plaintiff,
  v.

  DENNY’S INC., a Florida Corporation,

        Defendant.
                                          /

                              ORDER OF REFERENCE

        Pursuant to 28 U.S.C. § 636 and the Magistrate Rules of the

  Local Rules of the Southern District of Florida, the above-

  captioned cause is hereby referred to United States Magistrate

  Judge Chris McAliley to take all necessary and proper action as

  required by law regarding Plaintiff’s Motion and Incorporated

  Memorandum of Law for Award of Attorney’s Fees and Costs Pursuant

  to the Fair Labor Standards Act, 29 U.S.C. § 216(b) [D.E. 101].

        DONE AND ORDERED in Chambers at Miami, Florida, this 7th day

  of January, 2022.


                                           s/Donald L. Graham
                                           DONALD L. GRAHAM
                                           UNITED STATES DISTRICT JUDGE

  cc:   U.S. Magistrate Judge McAliley
